     4:08-cr-03026-RGK-CRZ                            Doc # 144          Filed: 03/13/12               Page 1 of 1 - Page ID # 419


AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                   District of Nebraska
                                                    __________    District of __________

                    United States of America
                               v.                                          )
                      Ý¿®´±- Ô±ª»®¾±§ Í·´ª¿                                )
                                                                           )    Case No: ìæðèÝÎíðîê
                                                                           )    USM No: îîðëîóðìé
Date of Original Judgment:                             ðíñîðñîððç          )
Date of Previous Amended Judgment:                     ðëñïçñîðïð          )    Ý¿®´±- ßò Ó±²¦±²
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ì the defendant           the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED. ì GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of ïîð                months is reduced to çê ³±²¬¸-                            .
                                             (Complete Parts I and II of Page 2 when motion is granted)


 Filings 140 and 143 are granted as provided herein.




Except as otherwise provided, all provisions of the judgment dated                          ðíñîðñîððç           shall remain in effect.
                                                                                             & 05/19/2010
IT IS SO ORDERED.

Order Date:                  ðíñïíñîðïî                                                            -ñ Î·½¸¿®¼ Ùò Õ±°º
                                                                                                       Judge’s signature


Effective Date:              ðíñïíñîðïî                                            Î·½¸¿®¼ Ùò Õ±°ºô Í»²·±® ËòÍò Ü·-¬®·½¬ Ö«¼¹»
                     (if different from order date)                                                Printed name and title
